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EXHIBITS

INDEMNITY ESCROW AGREEMENT

THIS INDEMNITY ESCROW AGREEMENT (this “Escrow Agreement’),
dated as of , 2009, is by and among Tribune Sports Network Holdings, LLC, a
Delaware limited liability company (“Tribune Sports”), Chicago National League Ball Club,
LLC, a Delaware limited liability company (which after the Closing will change its name to
, LLC) (“Cubs LLC”), Wrigley Field Premium Ticket Services, LLC, a Delaware
limited liability company (which after the Closing will change its name to , LLC)
(“Premium Tickets LLC”), Diana-Quentin, LLC, a Delaware limited liability company (which
after the Closing will change its name to , LLC) (“DQ LLC”), Chicago Cubs
Dominican Baseball Operations, LLC, a Delaware limited liability company (which after the
Closing will change its name to , LLC) (“Dominican LLC,” and together with
Tribune Sports, Cubs LLC, Premium Tickets LLC and DQ LLC, the “Cubs Entities”), Chicago
Baseball Holdings, LLC, a Delaware limited liability company (“Newco”), and JPMorgan Chase
Bank, N.A., as escrow agent (the “Escrow Agent”). The Cubs Entities and Newco are
sometimes referred to collectively herein as the “Parties.”

WHEREAS, Tribune Company, a Delaware corporation (“Tribune”), Ricketts
Acquisition LLC, a Delaware limited liability company (“Bidder”), the Cubs Entities, Newco
and certain other parties thereto have entered into the Formation Agreement dated as of
, 2009 (together with all amendments, supplements, or modifications through the date
hereof, the “Formation Agreement’);

WHEREAS, the Formation Agreement contains certain indemnification
provisions for the benefit of Newco and the Newco Subs;

WHEREAS, the Formation Agreement provides that Fifteen Million Dollars
($15,000,000) (the “Initial Escrow Amount’) of the amount that would otherwise be distributed
to the Cubs Entities by Newco at the Closing will be delivered at the Closing to the Escrow
Agent to be held in an escrow account # (the “Escrow Account’),

WHEREAS, Tribune, Bidder, the Cubs Entities, certain other parties and the
Escrow Agent (in its capacity as escrow agent thereunder, the “Closing Escrow Agent”) have
entered into the Closing Escrow Agreement dated as of , 2009; and

WHEREAS, the Parties desire to enter into this Escrow Agreement to implement
the foregoing and to set forth the terms and conditions under which the Escrow Agent shall hold
and disburse the Escrow Amount (as defined below).

NOW, THEREFORE, the parties agree as follows:

1. Terms. Capitalized terms used but not otherwise defined herein shall have the meanings
given to such terms in the Formation Agreement.

2. Escrow _Agent. The Parties designate and appoint the Escrow Agent to serve in
accordance with the terms, conditions and provisions of this Escrow Agreement, and the

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Escrow Agent agrees to act as such, upon the terms, conditions and provisions of this
Escrow Agreement.

Deposit of the Initial Escrow Amount. At the Closing, upon the receipt of the Initial

Escrow Amount, the Escrow Agent shall deposit such Initial Escrow Amount into the
Escrow Account, which shall be held and disbursed by the Escrow Agent in accordance
with the terms of this Escrow Agreement. The amount in the Escrow Account at any
time, including any Escrow Earnings (as defined below), shall be referred to as the
“Escrow Amount.” The initial Escrow Amount at Closing shall be the Initial Escrow
Amount.

Investment of Escrow Amount.

(a)

(b)

Pending disbursement of the Escrow Amount, the Escrow Agent will invest the
Escrow Amount in the investments set forth on Schedule 1 attached hereto.
Alternative written investment instructions, if any, shall specify the type and
identity of the investments to be purchased and/or sold and as shall be acceptable
to the Escrow Agent. The Escrow Agent is hereby authorized to execute
purchases and sales of investments through the facilities of its own trading or
capital markets operations or those of any affiliated entity. The Escrow Agent or
any of its affiliates may receive compensation with respect to any investment
directed hereunder including without limitation charging an agency fee in
connection with each transaction. The Parties recognize and agree that the
Escrow Agent will not provide supervision, recommendations or advice relating
to either the investment of moneys held in the Escrow Account or the purchase,
sale, retention or other disposition of any investment described herein. The
Escrow Agent shall not have any liability for any loss sustained as a result of any
investment in an investment made pursuant to the terms of this Escrow
Agreement or as a result of any liquidation of any investment prior to its maturity
or for the failure of the Parties to give the Escrow Agent instructions to invest or
reinvest the Escrow Amount. The Escrow Agent shall have the right to liquidate
any investments held in order to provide funds necessary to make required
payments under this Escrow Agreement.

The Escrow Agent shall provide Cubs LLC and Newco with monthly statements
regarding transactions with respect to the Escrow Amount and the aggregate
amount of the income, interest and realized gains earned on the Escrow Amount
(collectively, the “Escrow Earnings’) during such period.

Payments from Escrow.

(a)

At any time, Cubs LLC and Newco may jointly deliver to the Escrow Agent a
certificate in substantially the form of Exhibit A attached to this Escrow
Agreement (a “Joint Release Certificate”) instructing the Escrow Agent to
disburse all or a portion of the Escrow Amount. Within one (1) Business Day
after the date on which it receives a Joint Release Certificate, the Escrow Agent
shall disburse to Newco, specified Newco Subs or Bidder, on the one hand, or the
(b)

(c)

(d)

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Cubs Entities, on the other hand, as applicable, the portion of the Escrow Amount
in the Escrow Account set forth in such Joint Release Certificate.

At any time prior to , 2010! (the “Release Date”), and subject
to the terms and conditions of the Formation Agreement, Newco may deliver to
the Escrow Agent and Cubs LLC a certificate in substantially the form of Exhibit
B attached to this Escrow Agreement (“Newco Release Certificate”) requesting
that the Escrow Agent disburse to Newco, specified Newco Subs or Bidder all or
a portion of the then-remaining amount of the Escrow Amount in satisfaction of
any pending indemnification claim asserted by Newco (whether on behalf of
itself, specified Newco Subs or Bidder) pursuant to Article VIII of the Formation
Agreement or any amounts owed to Newco pursuant to Section 1.5(d) of the
Formation Agreement (in any event, a “Claim’”). Each Newco Release
Certificate shall be required to describe, in reasonable detail, the basis for the
Claim and the amount of the requested disbursement (the “Requested Amount”).
If, by 5:00 pm CST on the fifteenth (15th) Business Day after the date on which
the Newco Release Certificate is delivered pursuant to Section 14 to Cubs LLC,
Newco and the Escrow Agent have not received notification from Cubs LLC
stating that all or a portion of the amount claimed by Newco in its notice is not
due to be paid to Newco, the applicable Newco Sub(s) or Bidder (the “Release
Dispute Notice”), then the Escrow Agent on the 16" Business Day shall disburse
to Newco, the applicable Newco Sub(s) or Bidder, as applicable, the Requested
Amount. If the Escrow Agent receives a Release Dispute Notice no later than
5:00 pm CST on the fifteenth (15th)-Business Day period, then (i) the Escrow
Agent shall disburse to Newco, the applicable Newco Sub(s) or Bidder, as
applicable, the undisputed portion of the Requested Amount and (ii) Section 6
shall apply with respect to the remaining portion of the Requested Amount (a
“Disputed Amount’).

Notwithstanding anything to the contrary contained herein, if, prior to or on the
Release Date, Newco reasonably determines that the amount necessary to satisfy
any Pending Claim (as defined below) is greater than the amount set forth in the
last Newco Release Certificate relating to such Pending Claim, then Newco may
from time to time deliver to the Escrow Agent and Cubs LLC an amended Newco
Release Certificate reflecting such greater amount. In the event of such delivery,
the Disputed Amount for such Pending Claim for all purposes hereunder shall be
deemed to be the amount set forth in such amended Newco Release Certificate.

Within two (2) Business Days following the Release Date, the Escrow Agent shall
disburse to the Cubs Entities, in accordance with the allocations set forth on
Schedule 2, any amounts remaining in the Escrow Account which are not (i)
Disputed Amounts, (ii) subject to a pending Joint Release Certificate or (iii)
subject to a pending Newco Release Certificate, but subject in all respects to
Section 27.

' The date that is twelve (12) months from the Escrow Closing Date

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(e)

Following the Release Date, if a Disputed Amount is retained by the Escrow
Agent pursuant to Section 5(d) and such Disputed Amount is subsequently
resolved pursuant to Section 6, then (x) at the time of any disbursement to Newco,
the applicable Newco Sub(s) or Bidder, as applicable, related to such Disputed
Amount in accordance with the resolution pursuant to Section 6(b) or (y) within
one (1) Business Day of such resolution if no disbursement to Newco, the Newco
Subs or Bidder is required with respect to such Disputed Amount, the Escrow
Agent shall disburse to the Cubs Entities, in accordance with the allocations set
forth on Schedule 2, any amounts remaining in the Escrow Account which are not
(i) Disputed Amounts, (ii) subject to a pending Joint Release Certificate or (111)
subject to a pending Newco Release Certificate, but subject in all respects to
Section 27.

Settlement of Disputes.

(a)

(b)

The Escrow Agent shall be under no duty to institute or defend any proceedings
in the prosecution of any disputed claim and none of the costs and expenses of
any such proceedings shall be borne by the Escrow Agent.

If the Escrow Agent receives a Release Dispute Notice, then the Escrow Agent
shall retain the Disputed Amount with respect to the Claim set forth in such
Newco Release Certificate (a “Pending Claim’) until the earlier to occur of the
following: (a) Cubs LLC and Newco jointly direct the disbursement of the
Disputed Amount by delivering a Joint Release Certificate to the Escrow Agent
or (b) the Escrow Agent receives a certified copy of a final judgment of an
Applicable Court with respect to such Disputed Amount and (i) the time for
commencing a direct appeal of right of such judgment has expired without any
such appeal having been taken or (ii) if a timely direct appeal of right of such
judgment has been taken, the appellate court of competent jurisdiction has
entered its judgment and issued its mandate to such Applicable Court affirming
such Applicable Court's judgment and no further direct appeal of right exists (a
“Judgment”). The Escrow Agent shall deliver a copy of any Judgment so
received to Cubs LLC or Newco, as applicable. Upon receipt of a Joint Release
Certificate, or not earlier than five (5) Business Days nor later than ten (10)
Business Days after receipt of such certified copy of a Judgment, the Escrow
Agent shall disburse the Disputed Amount as required by such Joint Release
Certificate or Judgment, as the case may be. Any Judgment referred to above
shall be accompanied by a legal opinion of counsel for the presenting party
satisfactory to the Escrow Agent to the effect that said Judgment is a final
judgment and (i) the time for commencing a direct appeal of right of such
judgment has expired without any such appeal having been taken or (ii) if a
timely direct appeal of right of such judgment has been taken, such appellate
court has entered its judgment and issued its mandate to such Applicable
Court affirming such Applicable Court's judgment and no further direct appeal
of right exists.
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Termination. This Escrow Agreement shall terminate upon the disbursement by the
Escrow Agent of all of the amounts in the Escrow Account pursuant to this Escrow
Agreement or the joint written instructions of the Parties.

Responsibilities of the Escrow Agent. The Escrow Agent shall have no duties or
responsibilities except those expressly set forth in this Escrow Agreement and no other
duties shall be implied. The Escrow Agent shall have no responsibility for the validity of
any agreements referred to in this Escrow Agreement, or for the performance of any such
agreements by any Party or for interpretation of any of the provisions of any such
agreements. The liability of the Escrow Agent shall be limited solely to willful
misconduct or gross negligence on its part or the part of its agents, employees or
representatives only to the extent that a final adjudication of a court of competent
Jurisdiction determines that the Escrow Agent’s willful misconduct or gross negligence
caused any loss to either Party. The Escrow Agent shall have no responsibility as to the
validity, collectability or value of any property held by it in escrow pursuant to this
Escrow Agreement. The Escrow Agent may rely on any notice, instruction, certificate,
statement, request, consent, confirmation, agreement or other instrument which it
believes in good faith to be genuine and to have been signed or presented by a proper
person or persons without inquiry and without substantiating evidence of any kind. In the
event that the Escrow Agent shall be uncertain as to its duties or rights or shall receive
instructions from any of the undersigned with respect to any property held by it in escrow
pursuant to this Escrow Agreement which, in the opinion of the Escrow Agent, are in
conflict with any of the provisions of this Escrow Agreement, the Escrow Agent shall
refrain from taking any action until it shall be directed otherwise in writing by the Parties
or by an order of a court of competent jurisdiction. The Parties agree to pursue any
redress or recourse in connection with any dispute (other than a dispute relating to the
performance of the Escrow Agent’s obligations hereunder) without making the Escrow
Agent a party to the same. The Escrow Agent shall be deemed to have no notice of, or
duties with respect to, any agreement or agreements other than this Escrow Agreement or
except as otherwise provided herein. This Escrow Agreement sets forth the entire
agreement between the Parties and the Escrow Agent as escrow agent. Notwithstanding
any provision to the contrary contained in any other agreement between any of the
Parties, the Escrow Agent shall have no interest in the property held by it in escrow
pursuant to this Escrow Agreement except as provided in this Escrow Agreement and
shall not be deemed to be a joint venturer of any Party. In the event that any of the terms
and provisions of any other agreement between the Parties conflict or are inconsistent
with any of the terms and provisions of this Escrow Agreement, the terms and provisions
of this Escrow Agreement shall govern and control in all respects.

Amendment. The Escrow Agent and the other Parties shall not be bound by any waiver,
modification or amendment of this Escrow Agreement unless such waiver, modification
or amendment is in writing and signed by the Parties and a copy is provided to the
Escrow Agent and, if the duties of the Escrow Agent hereunder are affected in any way,
unless such modification or amendment is in writing and also signed by the Escrow
Agent.
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Resignation. The Escrow Agent shall have the right, in its discretion, to resign as escrow
agent at any time, by giving at least 30 days’ prior written notice of such resignation to
each of Cubs LLC and Newco. In such event, Cubs LLC and Newco together shall
promptly select a bank (i) with capital, surplus and undivided profits of not less than
$500,000,000 and, (ii) in the event that any case under Chapter 11 of Title 11 of the
United States Code is then pending for any of the Cubs Entities, having a Uniform
Depository Agreement with the United States Trustee for Region 3, which bank shall
then be appointed as successor Escrow Agent, and the Cubs Entities and Newco shall
enter into an agreement with such bank in substantially the form of this Escrow
Agreement. Resignation by the Escrow Agent shall relieve the Escrow Agent of any
responsibility or duty thereafter arising hereunder, but shall not relieve the Escrow Agent
of responsibility to account to the Cubs Entities and Newco for funds received by the
Escrow Agent prior to the effective date of such resignation. If a substitute for the
Escrow Agent is not selected within such 30-day period, Escrow Agent’s sole
responsibility shall be to hold the Escrow Amount (without any obligation to reinvest the
same) and to deliver the same to a designated substitute escrow agent, if any, or in
accordance with the directions of a final order or judgment of a court of competent
jurisdiction, at which time of delivery Escrow Agent’s obligations hereunder shall cease
and terminate, subject to the provisions of Sections 12, 16 and 21 hereunder.

Representations and Warranties of the Parties and the Escrow Agent.

(a) Each of the Parties represents and warrants to the Escrow Agent and the other
Party as follows: (a) the execution and delivery of this Escrow Agreement and the
consummation of the transactions contemplated hereby have been duly authorized
by such Party and no other or further act or proceeding on the part of such Party is
necessary to authorize this Escrow Agreement or the consummation of the
transactions contemplated hereby, (b) this Escrow Agreement has been duly
executed and delivered by such Party, (c) assuming the due execution and
delivery by the Escrow Agent and each other Party hereto, this Escrow
Agreement constitutes a valid and binding obligation of such Party, enforceable
against such Party in accordance with its terms, and (d) neither the execution and
delivery of this Escrow Agreement by such Party, nor the consummation by such
Party of the transactions contemplated hereby, will violate any applicable statute,
law (including common law), ordinance, rule or regulation or any order, writ,
injunction, judgment, plan or decree of any government, court, arbitrator,
department, commission, board, bureau, agency, authority, instrumentality or
other body, whether federal, state, municipal, county, local, foreign, supranational
or other.

(b) The Escrow Agent represents and warrants to the Parties as follows: (a) the
execution and delivery of this Escrow Agreement and the consummation of the
transactions contemplated hereby have been duly authorized by the Escrow Agent
and no other or further act or proceeding on the part of the Escrow Agent is
necessary to authorize this Escrow Agreement or the consummation of the
transactions contemplated hereby, (b) this Escrow Agreement has been duly
executed and delivered by the Escrow Agent, (c) assuming the due execution and
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delivery by the Parties, this Escrow Agreement constitutes a valid and binding
obligation of the Escrow Agent, enforceable against the Escrow Agent in
accordance with its terms, and (d) to the knowledge of the officer signing this
Escrow Agreement, without further investigation, neither the execution and
delivery of this Escrow Agreement by the Escrow Agent, nor the consummation
by the Escrow Agent of the transactions contemplated hereby, will violate any
applicable statute, law (including common law), ordinance, rule or regulation or
any order, writ, injunction, judgment, plan or decree of any government, court,
arbitrator, department, commission, board, bureau, agency, authority,
instrumentality or other body, whether federal, state, municipal, county, local,
foreign, supranational or other.

Fees. Newco agrees to (a) pay the Escrow Agent for the services to be rendered
hereunder, which unless otherwise agreed in writing shall be as described in Schedule 4
attached hereto, and (b) pay or reimburse the Escrow Agent upon request for all
expenses, disbursements and advances, including, without limitation reasonable
attorney's fees and expenses, incurred or made by it in connection with the performance
of this Escrow Agreement, except for any expenses, disbursements or advances covered
by the provisions of Sections 16, 17 or 21 hereof. If such amounts are unpaid, in whole or
in part within 90 days of the issuance of the invoice, the Escrow Agent shall be entitled to
deduct such amounts from the Escrow Account. If sufficient income and/or principal
funds are unavailable as compensation, the Escrow Agent may withhold disbursement of
the Escrow Account until such compensation is paid.

Payments. At any time the Escrow Agent is required to disburse any amounts held by it
under any of the provisions of this Escrow Agreement to the Cubs Entities or Newco,
such disbursement shall be effected by wire transfer pursuant to standing wire
instructions provided by such Party as set forth on Exhibit C and in accordance with

Section 23(b) hereunder.

Notices. All notices and other communications hereunder will be in writing and given by
(a) certified or registered mail, return receipt requested, (b) nationally recognized
overnight delivery service, such as Federal Express, (c) facsimile (or like transmission)
with confirmation of transmission by the transmitting equipment or (d) personal delivery
against receipt to the Escrow Agent or the Party to whom it is given, in each case, at the
Escrow Agent’s or such Party’s address or facsimile number set forth below or such other
address or facsimile number as the Escrow Agent or such Party may hereafter specify by
notice to the other parties hereto given in accordance herewith. Any such notice or other
communication shall be deemed to have been given and delivered upon actual receipt (or
refusal of receipt).
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If to the Escrow Agent:

JPMorgan Chase Bank, N.A., as Escrow Agent
420 W. Van Buren, Mail Code: IL1-0113
Chicago, Illinois 60606

Attention: Laura L. Ramsey

Facsimile: (312) 954-0430

JPMorgan Chase Bank, N.A., as Escrow Agent
420 W. Van Buren, Mail Code: IL1-0113
Chicago, Illinois 60606

Attention: Kevin Binninger

Facsimile: (312) 954-0430

JPMorgan Chase Bank, N.A., as Escrow Agent
420 W. Van Buren, Mail Code: IL1-0113
Chicago, Illinois 60606

Attention: Kristina Matejic

Facsimile: (312) 954-0430

JPMorgan Chase Bank, N.A., as Escrow Agent
420 W. Van Buren, Mail Code: IL1-0113
Chicago, Illinois 60606

Attention: Sonny Lui

Facsimile: (312) 954-0430

JPMorgan Chase Bank, N.A., as Escrow Agent

420 W. Van Buren, Mail Code: IL1-0113
Chicago, Illinois 60606

Attention: Rory Nowakowski
Facsimile: (312) 954-0430

and

JPMorgan Chase Bank, N.A., as Escrow Agent

420 W. Van Buren, Mail Code: IL1-0113
Chicago, Illinois 60606

Attention: Susie Moy

Facsimile: (312) 954-0430

If to Newco:

Ricketts Acquisition LLC

c/o Incapital LLC

200 South Wacker, Suite 3700
Chicago, Illinois 60606

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Attention: Thomas Ricketts
Facsimile: (312) 379-3701

with copies to (which shall not constitute notice):

Hugo Enterprises LLC

1395 South Platte River Drive
Denver, Colorado 80223
Attention: Alfred P. Levitt
Facsimile: (303) 200-7086

and

Foley & Lardner LLP

777 East Wisconsin Avenue

Milwaukee, Wisconsin 53202

Attention: Mary K. Braza and Patrick G. Quick
Facsimile: (414) 297-4900

If to any Cubs Entity:

Tribune Company

435 North Michigan Avenue
Chicago, Illinois 60611
Attention: General Counsel
Facsimile: (312) 222-4206

with copies to (which shall not constitute notice)

McDermott Will & Emery LLP
600 13th Street, N.W.
Washington, DC 20005
Attention: Blake D. Rubin
Facsimile: (202) 756-8087

McDermott Will & Emery LLP

227 West Monroe Street, Suite 4700

Chicago, Illinois 60606

Attention: Brooks B. Gruemmer and Ryan D. Harris
Facsimile: (312) 984-7700

Any Party and the Escrow Agent may change the address and/or facsimile number to
which notices, requests, demands, claims, and other communications are to be delivered
by giving each other Party notice in the manner set forth in this Section 14. “Business
Day” shall mean any day other than a Saturday, Sunday or any other day on which the
Escrow Agent located at the notice address set forth above is authorized or required by
law or executive order to remain closed.
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Captions. The Section captions used herein are for reference purposes only, and shall not
in any way affect the meaning or interpretation of this Escrow Agreement.

Indemnification of Escrow Agent. The Cubs Entities and Newco, jointly and severally,
agree to hold the Escrow Agent harmless, to defend and to indemnify the Escrow Agent
and its affiliates and their respective successors, assigns, directors, officers, managers,
attorneys, accountants, experts, agents and employees (each an “Indemnitee”) against
any loss, liability, clam or demand, damage, penalty, judgment, settlement, action, suit,
proceeding, litigation, investigation, costs or expenses (including reasonable fees and
expenses of the Escrow Agent’s legal counsel) (each a “Loss”) arising out of or in
connection with (a) the performance of the Escrow Agent’s obligations in accordance
with the provisions of this Escrow Agreement, including, without limitation, tax reporting
or withholding obligations under or in connection with this Escrow Agreement or the
enforcement of any of the Escrow Agent’s rights or remedies under or in connection with
this Escrow Agreement, except to the extent that such Loss is finally adjudicated by a
court of competent jurisdiction to have been caused by the gross negligence or willful
misconduct of the Escrow Agent, or (b) the Escrow Agent following any joint
instructions, or other joint direction from the Parties, except to the extent that its
following any such instruction or direction is expressly forbidden by the terms thereof.
Solely as between each other, the Cubs Entities, on the one hand, and Newco, on the
other hand, shall each bear fifty percent (50%) of any Loss in connection with such
indemnification. To the extent amounts are set off or otherwise deducted from the
Escrow Account by the Escrow Agent, the Cubs Entities, on the one hand, or Newco, on
the other hand, shall reimburse each other as appropriate depending on whether the
amounts set off or deducted were ultimately determined to be for the account of the Cubs
Entities, on the one hand, or Newco, on the other hand. The Parties hereby grant the
Escrow Agent a lien on, right of set-off against and security interest in, the Escrow
Amount for the payment of any claim for indemnification, fees, expenses and amounts
due hereunder, which lien and security interest shall be deemed automatically released
from amounts disbursed hereunder, which amounts, for the avoidance of doubt, shall then
be free and clear of any such lien or security interest. The obligations, including, without
limitation, the indemnity obligations, in this Section 16 shall survive termination of this
Escrow Agreement and the resignation, replacement or removal of the Escrow Agent.

Disagreements. If any disagreement or dispute arises between the Parties concerning the
interpretation of this Escrow Agreement, or about the rights and obligations or the
propriety of any action contemplated by the Escrow Agent under this Escrow Agreement,
then the Escrow Agent may, if such disagreement continues for 60 days or more, file an
action of interpleader in the Applicable Court and deposit all (or, if less, the disputed
portion) of the Escrow Account with such court. The reasonable fees and costs of the
Escrow Agent attendant to such interpleader action shall be paid equally by the Cubs
Entities, on the one hand, and Newco, on the other hand.

Right to Withhold Escrow Amount. The Escrow Agent is expressly authorized and
directed, but shall not be obligated, to charge against and withdraw from the Escrow
Amount for its own account or for the account of an Indemnitee, as applicable, any
amount due to the Escrow Agent or to such Indemnitee under this Escrow Agreement,

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including, without limitation, Sections 10, 12, 16 and 21 hereof; provided, to the extent
the Escrow Agent withdraws an amount in excess of the amount due to the Escrow Agent
or to such Indemnitee, the Escrow Agent shall promptly return such funds to the Escrow
Account.

Assignment. This Escrow Agreement and all of the provisions hereof shall be binding
upon and inure to the benefit of the Cubs Entities and Newco and their respective
successors and assigns. Neither this Escrow Agreement nor any rights, benefits or
obligations set forth herein may be assigned by the Cubs Entities or Newco without the
prior written consent of Cubs LLC and Newco, provided, however, that notwithstanding
the foregoing, (i) Newco may assign its rights under this Escrow Agreement without the
consent of the Cubs LLC for collateral security purposes to any lenders providing
financing to Newco or any Newco Sub and (ii) each Cubs Entity may assign its rights and
obligations under this Escrow Agreement without the consent of Newco to any wholly
owned Subsidiary of Tribune to which such Cubs Entity’s rights and obligations under
the Formation Agreement are validly assigned in accordance with the terms of the
Formation Agreement. No assignment of the interests of any of the Parties shall be
binding on the Escrow Agent unless and until notice of such assignment shall be filed
with and accepted by the Escrow Agent. Any purported assignment in violation of this
Escrow Agreement shall be null and void ab initio.

No_ Special or Consequential Damages. IN NO EVENT SHALL THE ESCROW
AGENT BE LIABLE, DIRECTLY OR INDIRECTLY, FOR ANY SPECIAL,
INCIDENTAL, PUNITIVE, INDIRECT OR CONSEQUENTIAL LOSSES OR
DAMAGES OF ANY KIND WHATSOEVER (INCLUDING BUT NOT LIMITED TO
LOST PROFITS AND DIMINUTION IN VALUE), EVEN IF THE ESCROW AGENT
HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH LOSSES OR DAMAGES
AND REGARDLESS OF THE FORM OF ACTION.

Litigation; Agents. If the Escrow Agent becomes involved in litigation on account of this
Escrow Agreement, then the Escrow Agent shall (a) have the right to retain counsel, (b)
have a first lien on the amounts then in the Escrow Account for any and all reasonable
costs, attorneys’ fees, charges, disbursements, and expenses in connection with such
litigation (“Litigation Costs”), and (c) be entitled to reimburse itself therefor out of the
Escrow Account. If the Escrow Agent shall be unable to reimburse itself from the
Escrow Account, then the Cubs Entities and Newco agree jointly and severally to pay to
the Escrow Agent on demand such Litigation Costs; provided, however, that the Cubs
Entities, on the one hand, and Newco, on the other hand, shall each be responsible for
fifty percent (50%) of such Litigation Costs. To the extent amounts are set off or
otherwise deducted from the Escrow Account by the Escrow Agent, the Cubs Entities, on
the one hand, or Newco, on the other hand, shall reimburse each other as appropriate
depending on whether the amounts set off or deducted were ultimately determined to be
for the account of the Cubs Entities, on the one hand, or Newco, on the other hand.
Notwithstanding the foregoing, if any such litigation is filed in respect of the gross
negligence or willful misconduct of the Escrow Agent, and it is finally adjudicated by a
court of competent jurisdiction there shall have been gross negligence or willful
misconduct on the part of the Escrow Agent, the Escrow Agent will promptly reimburse
22.

23.

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any Litigation Costs which have either been reimbursed to the Escrow Agent from the
Escrow Account or paid to Escrow Agent by Newco or the Cubs Entities.

Successor to Escrow Agent. Any banking association or corporation into which the

Escrow Agent may be merged or converted or with which the Escrow Agent may be
consolidated, or any corporation resulting from any merger, conversion or consolidation
to which the Escrow Agent shall be a party, or any banking association or corporation to
which all or substantially all of the escrow business of the Escrow Agent shall be
transferred, shall succeed to all the Escrow Agent’s rights, obligations and immunities
hereunder without the execution or filing of any paper or any further act on the part of
any of the parties hereto, anything herein to the contrary notwithstanding.

Security Procedures.

(a) In the event funds transfer instructions are given (other than in writing at the time
of execution of this Escrow Agreement), whether in writing, by facsimile or
otherwise, the Escrow Agent is authorized to seek confirmation of such
instructions by telephone call-back to the person or persons designated on
Schedule 3 hereto, and the Escrow Agent may rely upon the confirmation of
anyone purporting to be the person or persons so designated. Each funds transfer
instruction shall be executed by an authorized signatory, a list of such authorized
signatories is set forth on Schedule 3. The persons and telephone numbers for
call-backs may be changed only in a writing actually received and acknowledged
by the Escrow Agent. If for any reason the Escrow Agent is unable to contact any
of the persons designated on Schedule 3 attached hereto, it is understood and
agreed by the Parties that the Escrow Agent’s sole responsibility will be to retain
such Escrow Amount and release it only upon the confirmation of the required
telephone call-back procedures described in this Section 23. The Escrow Agent
and the beneficiary's bank in any funds transfer may rely solely upon any account
numbers or similar identifying numbers provided by either Party to identify (i) the
beneficiary, (ii) the beneficiary's bank, or (iii) an intermediary bank. The Escrow
Agent may apply any of the escrowed funds for any payment order it executes
using any such identifying number, even when its use may result in a person other
than the beneficiary being paid, or the transfer of funds to a bank other than the
beneficiary's bank or an intermediary bank designated. The Parties acknowledge
that these security procedures are commercially reasonable.

(b) Additionally, pursuant to Section 14 of this Escrow Agreement, the Parties
acknowledge that repetitive funds transfer instructions have been given to the
Escrow Agent for various specified beneficiaries where only the date of the
requested transfer, the amount of funds to be transferred, and/or the description of
the payment shall change within the repetitive instructions (“Standing
Settlement Instructions”). Such Standing Settlement Instructions are set forth in
Exhibit C. Escrow Agent may rely solely upon such Standing Settlement
Instructions and all identifying information set forth therein for such specified
beneficiaries. Escrow Agent and Parties agree that such Standing Settlement
Instructions shall be effective as the funds transfer instructions of such specified
24.

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beneficiaries, without requiring a verifying callback, whether or not authorized, if
such Standing Settlement Instructions are consistent with previously authenticated
Standing Settlement Instructions for such specified beneficiaries. The Parties
acknowledge that such Standing Settlement Instructions are a security procedure
and are commercially reasonable.

Court Orders. In the event that any escrow property shall be attached, garnished or levied
upon by any court order, or the delivery thereof shall be stayed or enjoined by an order of
a court of competent jurisdiction, or any order, judgment or decree shall be made or
entered by any order of a court of competent jurisdiction affecting the property deposited
under this Escrow Agreement, the Escrow Agent is hereby expressly authorized, in its
sole discretion, to obey and comply with all writs, orders or decrees so entered or issued,
which it is advised by legal counsel of its own choosing is binding upon it, whether with
or without jurisdiction, and in the event that the Escrow Agent obeys or complies with
any such writ, order or decree it shall not be liable to any of the parties hereto or to any
other person, firm or corporation, by reason of such compliance notwithstanding such
writ, order or decree being subsequently reversed, modified, annulled, set aside or
vacated.

Governing Law. This Escrow Agreement, and any disputes arising hereunder or
controversies related hereto, shall be governed by and construed in accordance with the
laws of the State of Delaware that apply to contracts made and performed entirely within
such state without regard to any choice or conflict of Law provision or rule (whether of
the State of Delaware or any other jurisdiction) to the extent they would result in the
application of the Laws of another jurisdiction.

Force Majeure. The Escrow Agent shall not be liable to any other party for losses due to,
or if it is unable to perform its obligations under the terms of this Escrow Agreement
because of, acts of God, fire, war, terrorism, floods, strikes, electrical outages, equipment
or transmission failure, or other causes reasonably beyond its control.

Exclusive Jurisdiction. Any Action with respect to this Escrow Agreement and any
matter arising out of or in connection with this Escrow Agreement shall be brought
exclusively in and determined by (i) the Bankruptcy Court if the Bankruptcy Case is
pending or (ii) the state or federal courts sitting in the State of Delaware if the
Bankruptcy Case is not pending (in either case, the “Applicable Court”). The Parties
further hereby waive any right to a trial by jury with respect to any lawsuit or judicial
proceeding arising out of or relating to this Escrow Agreement.

Action in Interpleader. The Parties expressly agree that the Escrow Agent has the
absolute right at the Escrow Agent’s election to file an action in the Applicable Court in
interpleader requiring the Parties (other than the Escrow Agent) to answer and litigate
their several claims and rights among themselves and the Escrow Agent is hereby
authorized to deposit with the clerk of the Applicable Court all of the Escrow Amount
that is held pursuant to this Escrow Agreement. In the event such an action is filed, the
Parties jointly and severally agree to pay all of the Escrow Agent’s charges, costs,
expenses and reasonable attorney’s fees.
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Counterparts. This Escrow Agreement may be executed (including by facsimile
transmission) with counterpart signature pages or in two or more counterparts, all of
which taken together shall constitute one instrument.

Account Opening Information/Taxpayer Identification Numbers: Tax Reporting.

(a)

(b)

(c)

To help the government fight the funding of terrorism and money laundering
activities, Federal law requires all financial institutions to obtain, verify, and
record information that identifies each person who opens an account. When an
account is opened, we will ask for information that will allow us to identify
relevant parties.

Taxpayer Identification Numbers (‘“TINs”). The Cubs Entities and Newco have
provided the Escrow Agent with their respective fully executed Internal Revenue
Service (“IRS”) Form W-8, or W-9 and/or other required documentation. The
Cubs Entities and Newco each represent that its correct TIN assigned by the IRS,
or any other taxing authority, is set forth in the delivered forms.

Tax Reporting. The Cubs Entities and Newco further represent to the Escrow
Agent that the transaction memorialized in the Formation Agreement does not: (i)
constitute an installment sale requiring any tax reporting or withholding of
imputed interest or original issue discount to the IRS or other taxing authority;
and (ii) that no portion of the principal amount of the Initial Escrow Amount
represents any portion of the purchase price for shares of stock under the
Formation Agreement.

In addition, all interest or other income earned under the Escrow Agreement shall
be allocated to the Cubs Entities in accordance with the allocation set forth in
Schedule 2, and reported, as and to the extent required by law, by the Escrow
Agent to the IRS, or any other taxing authority, on IRS Form 1099 or 1042S (or
other appropriate form) as income earned from the Escrow Account by the Cubs
Entities whether or not said income has been distributed during such year. Any
other tax returns required to be filed will be prepared and filed by the Cubs
Entities and/or Newco with the IRS and any other taxing authority as required by
law, including but not limited to any applicable reporting or withholding pursuant
to the Foreign Investment in Real Property Tax Act (“FIRPTA”). The Cubs
Entities and Newco acknowledge and agree that Escrow Agent shall have no
responsibility for the preparation and/or filing of any tax return or any applicable
FIRPTA reporting or withholding with respect to the Initial Escrow Amount or
any income earned by the Initial Escrow Amount. The Cubs Entities and Newco
further acknowledge and agree that any taxes payable from the income earned on
the investment of any sums held in the Escrow Account shall be paid by the Cubs
Entities. In the absence of written direction from the Cubs Entities and Newco, all
proceeds of the Initial Escrow Amount shall be retained in the Escrow Account
and reinvested from time to time by the Escrow Agent as provided in this
Agreement. Escrow Agent shall withhold any taxes on the income earned on the
investment of any sums held in the Escrow Account to the extent such
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withholding is required by applicable law, and shall remit such taxes to the
appropriate taxing authorities.

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IN WITNESS WHEREOF, the undersigned have duly caused this Escrow
Agreement to be executed as of the date first written above.

JPMORGAN CHASE BANK, N.A., as Escrow
Agent

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CHICAGO NATIONAL LEAGUE BALL CLUB,
LLC

WRIGLEY FIELD PREMIUM TICKET
SERVICES, LLC

DIANA-QUENTIN, LLC

By:
Name:
Its:

CHICAGO CUBS DOMINICAN BASEBALL
OPERATIONS, LLC

By:
Name:
Its:

TRIBUNE SPORTS NETWORK HOLDINGS,
LLC

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EXHIBIT A

JOINT RELEASE CERTIFICATE

TO:
Attention:
Facsimile:
This certificate is issued pursuant to that certain Indemnity Escrow Agreement,
dated , 2009, by and among Chicago National League Ball Club, LLC,
Chicago Baseball Holdings LLC, [ ], as the Escrow Agent, and the other Parties

signatory thereto. Capitalized terms herein shall have the meaning ascribed to them in said
Escrow Agreement.

[The parties to this certificate are now jointly instructing the Escrow Agent to pay
an amount equal to $ out of the Escrow Amount to |

Each of the undersigned hereby represents and warrants that it has been
authorized to execute this certificate. This certificate may be signed in counterparts.

CHICAGO NATIONAL LEAGUE CHICAGO BASEBALL HOLDINGS, LLC
BALL CLUB, LLC

By: By:
Name: Name:
Title: Title:

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EXHIBIT B

NEWCO RELEASE CERTIFICATE

TO:

Attention:
Facsimile:

Tribune Company

435 North Michigan Avenue
Chicago, Illinois 60611
Attention: General Counsel
Facsimile: (312) 222-4206

This certificate is issued pursuant to Section 5(b) of that certain Indemnity Escrow
Agreement, dated , 2009, by and among Chicago National League Ball
Club, LLC, Chicago Baseball Holdings, LLC, [ ], as the Escrow Agent, and
the other Parties signatory thereto. Capitalized terms herein shall have the meaning ascribed to
them in said Escrow Agreement.

Subject to the terms of the Escrow Agreement, Newco is notifying the Escrow
Agent and Cubs LLC of this Claim under the Formation Agreement for $ out of the
Escrow Amount to be paid to (the “Claim’’).

[Newco to describe in reasonable detail the events giving rise to the Claim,
including, if applicable, specifying the relevant detail required by Article VIII of the Formation
Agreement. |

CHICAGO BASEBALL HOLDINGS, LLC

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EXHIBIT C

WIRE INSTRUCTIONS

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Newco or Newco Subs:

ABA #

Acct. #

Acct. Name:

Cubs LLC:

ABA #

Acct. #

Acct. Name:

DQ LLC:

ABA #

Acct. #

Acct. Name:

Dominican LLC:

ABA #

Acct. #

Acct. Name:

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Bidder:

ABA #

Acct. #

Acct. Name:

Tribune Sports:

ABA #

Acct. #

Acct. Name:

Premium Tickets LLC:

ABA #

Acct. #

Acct. Name:

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SCHEDULE 1

APPROVED INVESTMENTS

During the term of this Escrow Agreement, the Escrow Amount shall be invested in a JPMorgan
Chase Bank, N.A. money market deposit account (“MMDA”), or a successor or similar
investment offered by the Escrow Agent, unless otherwise instructed in writing by the Parties
and as shall be acceptable to the Escrow Agent. The rate of return on an MMDA varies from
time to time based upon market conditions.

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SCHEDULE 2

CUBS ENTITIES’ ALLOCATIONS

Tax Identification
Cubs Entity Allocation Number

Cubs LLC

DQ LLC

Dominican LLC

Tribune Sports

Premium Tickets LLC

Total 100%

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SCHEDULE 3

Telephone Number(s) and authorized signature(s) for

Person(s) Designated to give Funds Transfer Instructions

If to Cubs Entities:

Name Telephone Number Signature
1.
2.
3.
If to Newco:
Name Telephone Number Signature
1.
2.
3.

Telephone Number(s) for Call-Backs and

Person(s) Designated to Confirm Funds Transfer Instructions

If to Cubs Entities:

Name Telephone Number

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If to Newco:

Name Telephone Number
2.
3,

Telephone call backs may be made to both Parties if joint instructions are required pursuant to
the agreement. All funds transfer instructions must include the signature of the person(s)
authorizing said funds transfer and must not be the same person confirming said transfer.

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“y3PMorgan

Schedule 4
Escrow Agent’s Compensation:

New Account Acceptance Fee................... $500
One-time fee payable upon Account Opening

A New Account Acceptance Fee will be charged for the Bank's review of the Escrow Agreement
along with any related account documentation.

Annual Administrative Fee .................... $3,000
Payable upon Account Opening and in Advance
of each year of service as Escrow Agent

The Annual Administrative Fee will cover the Bank's standard Escrow services including, but not
limited to, account setup, safekeeping of assets, investment of funds, collection of income and other
receipts, preparation of statements comprising account activity and asset listing, and distribution of
assets in accordance with the specific terms of the Escrow Agreement. These fees cover a full year,
or any part thereof, and thus are not prorated in the year of termination. The account will be invoiced
in the month in which the account is opened and annually thereafter. Payment of the invoice is due
30 days following receipt.

Out-of-Pocket Expenses:

Any reasonable out-of-pocket expenses including attorney's fees will be considered extraordinary services for
which related costs, transaction charges, and additional fees will be billed at cost.

Modification of Fees:

Circumstances may arise necessitating a change in the foregoing fee schedule. The Bank will maintain the
fees at a level that is fair and reasonable in relation to the responsibilities assumed and the duties performed.

Disclosure & Assumptions:

¢ The fees quoted in this schedule assume that the escrow deposit will be continuously invested
in the JPMorgan Chase Bank Money Market Account.

¢ Disbursements, receipts, investments or tax reporting exceeding 25 items per year may be
treated as extraordinary services thereby incurring additional charges.

e U.S. law permits the parties to make up to six (6) pre-authorized withdrawals from an
MMDA per calendar month or statement cycle or similar period. If the MMDA can be
accessed by checks, drafts, bills of exchange, notes and other financial instruments
(“Items”), then no more than three (3) of these six (6) transfers may be made by an Item.
The Escrow Agent is required by U.S. law to reserve the right to require at least seven (7)
days notice prior to a withdrawal from an MMDA. The Escrow Agent does not presently
exercise this right.

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